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     California State Bar No. 273748
2    FEDERAL DEFENDERS OF SAN DIEGO, INC.
     225 Broadway, Suite 900
3    San Diego, California 92101-5030
     Telephone: (619) 234-8467
4    Eric_Fish@fd.org
5    Attorneys for Ms. Ramirez-Raudales
6
7                               UNITED STATES DISTRICT COURT
8                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
9                           (HONORABLE RUBEN B. BROOKS)
10   UNITED STATES OF AMERICA,              ) Case No.: 18MJ2071-RBB
                                            )
11                 Plaintiff,               )
                                            )
12   v.                                     )
                                            ) NOTICE OF DEFENDANT’S
13   MARBEL YANETH RAMIREZ-                 ) DISCOVERY REQUEST
     RAUDALES,                              )
14                                          )
                   Defendant.               )
15                                          )
16   TO: ADAM L. BRAVERMAN, UNITED STATES ATTORNEY;
         DAVIS M. LOOP, ASSISTANT UNITED STATES ATTORNEY.
17
18         Ms. Marbel Yaneth Ramirez-Raudales, the accused in this case, by and through
19   her attorneys, Eric S. Fish, and Federal Defenders of San Diego, Inc., hereby files the
20   following discovery request.
21                                           Respectfully submitted,
22
23   Dated: May 9, 2018                      s/ Eric S. Fish
                                             ERIC S. FISH
24
                                             Federal Defenders of San Diego, Inc.
25                                           Attorneys for Ms. Mendoza-Romaldo
                                             Eric_Fish@fd.org
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Davis M. Loop
United States Attorney’s Office
880 Front Street
San Diego, California 92101

Via email

Re:   United States v. Ramirez-Raudales, 18mj-2085-RBB

May 9, 2018

Dear Mr. Loop –

I write to you to request the following discovery. This request augments, but does not
replace, the requests I made in the discovery letter I sent to your office on May 2, 2018.

1.    Video and other surveillance.

In my discovery letter of May 2, 2018, I specifically requested that the government
preserve “all physical evidence that may be destroyed, lost, or otherwise put out of the
possession, custody, or care of the Government and which relates to the arrest or the
events leading to the arrest in this case.” I also specifically requested the preservation
of any “video and audio recording of the events at the . . . location of arrest[.]”

Please disclose any video, dispatch tapes, RVSS footage, drone footage, or other
surveillance and recording of the events surrounding my client’s arrest in “Goat
Canyon” on April 27, 2018. Please also disclose the locations of any sensors involved
in the events surrounding my client’s arrest.

2.    Video of Ms. Ramirez’s statements.

Please disclose the recording of all Ms. Ramirez’s statements taken after her arrest. See
Bates 11-14. Also disclose the time of this statement and the location of Ms. Ramirez’s
minor child during the statement

3.    Names, locations, and reports of percipient witnesses.

According to discovery, Ms. Ramirez was arrested as part of a group of “eighteen
subjects.” See Bates 6. Each of these “subjects” is a percipient witness to Ms. Ramirez’s
arrest and to the circumstances surrounding this charge. Please disclose the names and
current locations of these percipient witnesses.



                                                                                              
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Please disclose any reports written concerning the other seventeen individuals
apprehended by Agent Renteria; the Field Apprehension Reports for all eighteen
people; the “Batch Sheets” for all eighteen people; and Border Patrol Agent Renteria’s
notes from his encounters with all eighteen people.

3.      Border Patrol agents present.

Please disclose the name and number of all Border Patrol agents and other law
enforcement officers present during my client’s arrest.

4.      Names and locations of the alleged citizens of India arrested on April 27,
        2018.

As noted in Ms. Ramirez’s Motion to Dismiss the Complaint for Selective Prosecution,
the government has claimed that it arrested at least three citizens of India on April 27,
2018, in Goat’s Canyon. See Dkt. No. 10 at Exhibit F.

Please disclose the names and current locations of the three alleged citizens of India
arrested in Goat’s Canyon on April 27, 2018.

5.      Charging policies.

Please disclose:

      Any charging policies for illegal entry or illegal re-entry cases that apply to the
       Southern District of California;
      Any and all internal communications, memoranda, reports, emails, or other
       statements between law enforcement officers and any members of the United
       States Attorney’s Office regarding the decision to prosecute Ms. Ramirez (and
       the other ten people whom the Attorney General has claimed were charged as
       part of the caravan);
      Any and all reports by law enforcement officers documenting the encounter and
       arrest of Ms. Ramirez, the other ten people charged with illegal entry offenses
       whom the government claims were members of the caravan, and the



                                              
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        seven people not charged – including the three people who claimed to be citizens
        of India;
      Any and all internal communications, memoranda, reports, emails, or other
       statements between law enforcement officers and any members of the United
       States Attorney’s Office regarding the three arrestees who claimed to be citizens
       of India;
      Any and all internal communications, memoranda, reports, emails, or other
       statements within the United States Attorney’s Office regarding either the
       decision to prosecute Ms. Ramirez (and the other arrestees) or the decision not
       to prosecute the three arrestees who claimed to be citizens of India.
      Any guidance or policies concerning when CPB refers asylum seekers for
       prosecution
      Any policies or directives concerning the processing and turning away of asylum
       seekers at the San Ysidro port of entry.


5.      Residual request.

This request is not exhaustive; I will likely make more requests as the case progresses.

Please disclose all discovery to which Ms. Ramirez is entitled under Rule 16, including
discovery that is “material to preparing the defense” under Rule 16(a)(1)(E)(i). See United
States v. Hernandez-Meza, 720 F.3d 760, 768 (9th Cir. 2013) (“Materiality is a low
threshold . . . Upon request, the government must disclose any documents or other
objects within its possession, custody or control that are ‘material to preparing the
defense’ . . . It thus behooves the government to interpret the disclosure requirement
broadly and turn over whatever evidence it has pertaining to the case.”)

Thank you for your prompt attention to these requests.
Sincerely,

s/Eric Fish
Eric S. Fish



                                              
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1                               CERTIFICATE OF SERVICE
2          Counsel for the Defendant certifies that the foregoing pleading has been
3    electronically served on the following parties by virtue of their registration with the
4    CM/ECF system:
5          Davis M. Loop
           Assistant U.S. Attorney
6
7
                                              Respectfully submitted,
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9
     Dated: May 9, 2018                       s/ Eric S. Fish
10                                            ERIC S. FISH
11                                            Federal Defenders of San Diego, Inc.
                                              Attorneys for Ms. Mendoza-Romaldo
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